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EXHIBIT 8-B

Notice of Rejection
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,! Case No. 14-10979 (CSS)

Debtors. Jointly Administered

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NOTICE REGARDING EXECUTORY CONTRACTS AND
UNEXPIRED LEASES TO BE REJECTED PURSUANT TO THE PLAN

PLEASE TAKE NOTICE THAT on [ ], 2017, the United States
Bankruptcy Court for the District of Delaware (the “Court”) entered an order [D.I.
(the “EFH Disclosure Statement Order”): (a) authorizing Energy Future Holdings Corp. (““EFH
Corp.”), certain of its direct and indirect subsidiaries (together with EFH Corp., the “EFH
Debtors”),” Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance,
Inc. (together with EFIH, the “EFIH Debtors,” and together with the EFH Debtors,
the “EFH/EFIH Debtors”) to solicit acceptances to the First Amended Joint Plan of
Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding
Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code
[D.I. ] (as may be modified, amended, or supplemented from time to time, the “Plan”);?
(b) approving the Disclosure Statement for the First Amended Joint Plan of Reorganization of
Energy Future Holdings Corp., Energy Future Intermediate Holding Company LLC, and the
EFH/EFIA Debtors Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and
schedules thereto [D.I. | (as may be modified, amended, or supplemented from time to
time, the “EFH Disclosure Statement”) as containing “adequate information” pursuant to
section 1125. of the Bankruptcy Code; (c) approving the solicitation materials and documents to
be included in the solicitation packages; (d) approving procedures for soliciting, receiving, and
tabulating votes on the Plan; and (e) establishing certain protocols in connection with those
proceedings.

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.

Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Plan.
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PLEASE TAKE FURTHER NOTICE THAT on | ], 2017 the EFH/EFIH
Debtors filed the Plan Supplement for the First Amended Joint Plan of Reorganization of Energy
Future Holdings Corp., Energy Future Intermediate Holding Company LLC, and the EFH/EFIH
Debtors Pursuant to Chapter 11 of the Bankruptcy Code [D.I.___] (the “Plan Supplement”).

PLEASE TAKE FURTHER NOTICE THAT the EFH/EFIH Debtors filed the List of
Executory Contracts and Unexpired Leases to be Rejected by Reorganized EFH/EFIH Debtors
on the EFH/EFIA Effective Date (the “Rejection Schedule”) with the Court as part of the Plan
Supplement. The determination to reject the agreements identified on the Rejection Schedule is
subject to revision.

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “EFH Confirmation Hearing”) will commence at a time
and date to be determined, before the Honorable Christopher S. Sontchi, in the United States
Bankruptcy Court for the District of Delaware, located at 824 North Market Street, Fifth Floor,
Courtroom 6, Wilmington, Delaware 19801. Upon such time that the EFH Confirmation
Hearing is scheduled, a supplemental notice of hearing shall be provided, in accordance with the
EFH Disclosure Statement Order. The EFH Confirmation Hearing may be continued.

PLEASE TAKE FURTHER NOTICE THAT YOU ARE RECEIVING THIS NOTICE
BECAUSE THE EFH/EFIM DEBTORS’ RECORDS REFLECT THAT YOU ARE A
PARTY TO AN EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT WILL BE
REJECTED PURSUANT TO THE PLAN. THEREFORE, YOU ARE ADVISED TO
REVIEW CAREFULLY THE INFORMATION CONTAINED IN THIS NOTICE AND
THE RELATED PROVISIONS OF THE PLAN.‘

PLEASE TAKE FURTHER NOTICE THAT THE EFH/EFIH DEBTORS ARE
PROPOSING TO REJECT THE EXECUTORY CONTRACT(S) AND/OR UNEXPIRED
LEASE(S) TO WHICH YOU ARE A PARTY, AS LISTED ON EXHIBIT A.

PLEASE TAKE FURTHER NOTICE THAT the deadline for filing all Proofs of
Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases by the EFH/EFIH Debtors, pursuant to the Plan or the EFH Confirmation Order, if any,
amount is [ ], 2017, at 4:00 p.m. prevailing Eastern Time. Proofs of Claim may
estimate such Claims, if any, based upon an anticipated effective date of rejection of December
31, 2017. Any Claims arising from the rejection of an Executory Contract or Unexpired Lease
not filed by [ ], 2017, at 4:00 p.m. prevailing Eastern Time will be automatically

* Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Rejected Executory

Contract and Unexpired Lease List, nor anything contained in the Plan or each EFH/EFIH Debtor’s schedule of
assets and liabilities, shall constitute an admission by the EFH/EFIH Debtors that any such contract or lease is
in fact an Executory Contract or Unexpired Lease or that any Reorganized EFH/EFIH Debtor has any liability
thereunder or that such Executory Contract or Unexpired Lease is necessarily a binding and enforceable
agreement. Further, the EFH/EFIH Debtors expressly reserve the right to (a) remove any Executory Contract or
Unexpired Lease from the Rejection Schedule and assume such Executory Contract or Unexpired Lease
pursuant to the terms of the Plan and (b) contest any Claim asserted in connection with rejection of any
Executory Contract or Unexpired Lease.

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disallowed, forever barred from assertion and shall not be enforceable against the EFH/EFIH
Debtors or the Reorganized EFH/EFIH Debtors, the Estates, or their property without the need
for any objection by the Reorganized EFH/EFIH Debtors or further notice to, or action, order or
approval of the Bankruptcy Court.

PLEASE TAKE FURTHER NOTICE THAT all Claims arising from the rejection by
any EFH/EFIH Debtor of any Executory Contract or Unexpired Lease pursuant to section 365 of
the Bankruptcy Code shall be treated as General Unsecured Claims and may be objected to in
accordance with Plan and the applicable provisions of the Bankruptcy Code and Bankruptcy
Rules.

PLEASE TAKE FURTHER NOTICE THAT rejection of any Executory Contract or
Unexpired Lease pursuant to the Plan or otherwise shall not constitute a termination of
preexisting obligations owed by the Executory Contract or Unexpired Lease counterparty or
counterparties to the EFH/EFIH Debtors or the Reorganized EFH/EFIH Debtors, as applicable,
under such Executory Contracts or Unexpired Leases.

Plan Objection Deadline. The deadline for filing preliminary objections to the Plan is
October 30, 2017 (the “Preliminary Plan Objection Deadline”); the deadline to file final
objections to the Plan will be determined at a later date but in no event shall such objection
deadline occur later than December 19, 2017 (the “Final Plan Objection Deadline”). Only those
parties who file an objection to the Plan on or before the Preliminary Plan Objection Deadline
shall be permitted to file a final objection to the Plan, unless otherwise ordered by the
Bankruptcy Court. All objections to the relief sought at the EFH Confirmation Hearing must:
(a) be in writing; (b) conform to the Bankruptcy Rules, the Local Rules, and any orders of the
Court; (c) state, with particularity, the legal and factual basis for the objection and, if practicable,
a proposed modification to the Plan (or related materials) that would resolve such objection; and
(d) be filed with the Court (contemporaneously with a proof of service) and served upon the
following parties so as to be actually received on or before the Preliminary Plan Objection
Deadline and the Final Plan Objection Deadline, as applicable:

KIRKLAND & ELLIS LLP RICHARDS, LAYTON & FINGER, P.A.
Attn: Edward O. Sassower, P.C. Attn: Mark D. Collins, Esq.
Attn: Stephen E. Hessler, P.C. Attn: Daniel J. DeFranceschi, Esq.
Attn: Brian E. Schartz, Esq. Attn: Jason M. Madron, Esq.
Attn: Aparna Yenamandra, Esq. 920 North King Street
601 Lexington Avenue Wilmington, Delaware 19801

New York, New York 10022

Attn: James H.M. Sprayregen, P.C.
Attn: Marc Kieselstein, P.C.
Attn: Chad J. Husnick, P.C.

Attn: Steven N. Serajeddini, Esq.
300 North LaSalle
Chicago, Illinois 60654

Co-Counsel to the Debtors

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PROSKAUER ROSE LLP. BIELLI & KLAUDER, LLP

Attn: Mark K Thomas, Esq. Attn: David M. Klauder, Esq.
Attn: Peter J. Young, Esq. 1204 N. King Street
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70 W. Madison ST STE 3800
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Co-Counsel to Energy Future Holdings Corp.

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Attn: Richard Levin, Esq.

919 Third Ave

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Co-Counsel to Energy Future Intermediate Holding Company LLC

THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF DELAWARE
Attn: Richard L. Schepacarter, Esq.
Attn: Andrea B. Schwartz, Esq.
844 King Street, Suite 2207
Wilmington, Delaware 19801

SULLIVAN & CROMWELL LLP MONTGOMERY, MCCRACKEN, WALKER, &
Attn: Andrew G. Dietderich, Esq. RHOADS LLP
Attn: Brian D. Glueckstein, Esq. Attn: Natalie D. Ramsey, Esq.
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Wilmington, DE 19801

Co-Counsel to the EFH Creditors’ Committee

PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
EFH Disclosure Statement, the Plan, the Plan Supplement or related documents, you should
contact Epiq Bankruptcy Solutions, LLC, the Solicitation Agent retained by the Debtors in these
Chapter 11 Cases, by: (a) calling the Debtors’ restructuring hotline at (877) 276-7311;
(b) visiting the Debtors’ restructuring website at: http://www.efhcaseinfo.com; and/or (c) email
to efhvote@epiqsystems.com and reference “EFH/EFIH” in the subject line. You may also
obtain copies of any pleadings filed in these Chapter 11 Cases for a fee via PACER at:
http://www.deb.uscourts.gov.
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ARTICLE VII OF THE PLAN CONTAINS RELEASE, EXCULPATION
AND INJUNCTION PROVISIONS, AND ARTICLE VIUILD. CONTAINS A THIRD-
PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, CONTACT EPIQ BANKRUPTCY SOLUTIONS, LLC.

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Wilmington, Delaware

Dated: | |, 2017

DRAFT

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Co-Counsel to the Debtors and Debtors in Possession
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Exhibit A

Description of
Ref. # Debtor(s) Contract or Counterparty
Lease

Description of
Property tobe | Rejection Date
Abandoned, if any

Counterparty
Address

